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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
                                CIVIL MINUTES − GENERAL

 Case No.    2:22−cv−08775−RGK−SK                                  Date    4/3/2023
 Title       SMALL BUSINESS FINANCE ASSOCIATION V. CLOTHILDE HEWLETT

 Present : The Honorable R. GARY KLAUSNER, UNITED STATES DISTRICT JUDGE
        Joseph Remigio              Marea Woolrich           N/A
          Deputy Clerk          Court Reporter / Recorder  Tape No.

     Attorneys Present for Plaintiffs:            Attorneys Present for Defendants:
     Scott Pearson                                Ji Yoo
                                                  Douglas Beteta




Proceedings:         SCHEDULING CONFERENCE

   Case called. Court and counsel confer. The Scheduling Conference is held and the
Court sets the following dates:

    Bench Trial (Est. 5−14 days):                  December 12, 2023 at 09:00 AM
    Pretrial Conference:                           November 27, 2023 at 09:00 AM
    Motion Cut-Off Date (last day to file):        September 27, 2023
    Discovery Cut-Off Date (fact discovery):       September 13, 2023

    Last day to amend the complaint or add parties is 5/10/2023 . The parties shall
participate in ADR SP1 .

     IT IS SO ORDERED.
                                                                                          :02
                                                                   Initials of Preparer: jre




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